Case 18-12198-NPO   Doc 1   Filed 06/05/18 Entered 06/05/18 14:53:54   Desc Main
                            Document      Page 1 of 4
Case 18-12198-NPO   Doc 1   Filed 06/05/18 Entered 06/05/18 14:53:54   Desc Main
                            Document      Page 2 of 4
Case 18-12198-NPO   Doc 1   Filed 06/05/18 Entered 06/05/18 14:53:54   Desc Main
                            Document      Page 3 of 4
Case 18-12198-NPO   Doc 1   Filed 06/05/18 Entered 06/05/18 14:53:54   Desc Main
                            Document      Page 4 of 4
